                           Case 14-50333-gs         Doc 122    Entered 07/16/14 16:43:08        Page 1 of 3


                      1   ALAN R. SMITH, ESQ. #1449
                          HOLLY E. ESTES, ESQ. #11797
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                      3   Reno, Nevada 89501                                                July 16, 2014
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                      5   Attorney for Debtors
                          ANTHONY THOMAS and WENDI
                      6   THOMAS and AT EMERALD, LLC
                      7

                      8

                      9                           UNITED STATES BANKRUPTCY COURT
                 10                                           DISTRICT OF NEVADA
                 11                                                 —ooOoo—
                 12       In Re:                                            Case No. BK-N-14-50333-BTB
                                                                            Case No. BK-N-14-50331-BTB
                 13       ANTHONY THOMAS and                                Chapter 11 Cases
                          WENDI THOMAS,
                 14                                                         [Jointly Administered]
                 15       AT EMERALD, LLC,                                  STIPULATION TO CONTINUE
                                                                            HEARINGS ON US TRUSTEE’S
                 16                      Debtors.                           OBJECTIONS TO DEBTOR’S
                                                                            CLAIMS OF EXEMPTIONS AND US
                 17                                                         TRUSTEE’S MOTION TO
                                                                            DESIGNATE CASE AS SMALL
                 18                                                         BUSINESS CASE
                 19                                                         Old Hearing Date: July 30, 2014
                                                                            Old Hearing Time: 10:00 a.m.
                 20
                                                                            New Hearing Date: September 10, 2014
                 21       ______________________________/                   New Hearing Time: 2:00 p.m.
                 22                IT IS HEREBY STIPULATED AND AGREED by and between Debtors, ANTHONY

                 23       THOMAS and WENDI THOMAS,(hereinafter “Debtors”), by and through their
                 24       undersigned counsel, Holly E. Estes, Esq., of the Law Offices of Alan R. Smith, and the
                 25       United States Trustee, by and through her counsel William B. Cossitt, Esq., that the hearing on the

                 26       US Trustee’s Objections To Debtor’s Claims Of Exemptions [DE 53] and the US Trustee’s Motion

                 27       To Designate Case As Small Business Case [DE 55] currently scheduled for July 30, 2014, at 10:00

                 28       a.m., shall be continued until September 10, 2014, at 2:00 p.m.

Alan R. Smith, Esq.
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Reno, Nevada 89501
 (775) 786-4579
                          Case 14-50333-gs    Doc 122     Entered 07/16/14 16:43:08       Page 2 of 3


                      1        DATED this 16th day of July, 2014.

                      2                                             LAW OFFICES OF ALAN R. SMITH

                      3                                                   /s/ Holly E. Estes

                      4                                             By_______________________________________
                                                                      HOLLY E. ESTES, ESQ.
                      5                                               Attorney for Debtors

                      6        DATED this 16th day of July, 2014.

                      7                                             OFFICE OF THE UNITED STATES TRUSTEE

                      8
                                                                           See attached signature page
                      9                                             By_______________________________________
                                                                      WILLIAM B. COSSITT, ESQ.
                 10                                                   Attorney for Tracy Hope Davis

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                          Case 14-50333-gs    Doc 122    Entered 07/16/14 16:43:08        Page 3 of 3


                      1        DATED this 16th day of July, 2014.

                      2                                             LAW OFFICES OF ALAN R. SMITH

                      3                                                   /s/ Holly E. Estes

                      4                                             By_______________________________________
                                                                      HOLLY E. ESTES, ESQ.
                      5                                               Attorney for Debtors

                      6        DATED this ___ day of July, 2014.

                      7                                             OFFICE OF THE UNITED STATES TRUSTEE

                      8

                      9                                             By_______________________________________
                                                                      WILLIAM B. COSSITT, ESQ.
                 10                                                   Attorney for Tracy Hope Davis

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